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                 Jim Kenney
                 @JimFKenney

        @MikeFOX29 @Pontifex Pope Francis is a social media guy.
        The Muckety Mucks are going to Rome but Papa listens to the
        real people!
        3:43 PM - Mar 8, 2014
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           Attachment L
                                               Case 2:18-cv-02075-PBT Document 13-8 Filed 06/07/18 Page 5 of 74
                                                                                                     Project Discovery                             The Confidence to
                                                                                                     by Crossroads                                 Grow Up & Grow Strong
                                                                                                     Was created in 2005 to provide LGBTQ          Project Discovery by Crossroads provides
                                                                                                     (lesbian, gay, bisexual , transgender or      extra training to these therapeutic foster
                                                                                                     questioning) youth ages 12-21, with a         homes to help support LGBTQ young
                                                                                                     community based home environment of           people so they can develop a healthy and
                                                                                                     support and sensitivity. Social, emotional    positive self- evaluation, awareness and
                                                                                                     and/or behavioral difficulties, along with    image. The future can be a bright one with
                                                                                                     individual LGBTO issues are addressed         many wonderful possibilities ... if we take care
                                                                                                     by Treatment Parents who have an              to provide ' the right place and the right
                                                                                                     understanding of the extra pressures of       space' in which our LGBTO youth can live
                                                                                                     adolescents when sexual identity and          and grow. Project Discovery by Crossroads
                                                                                                     preference are added into the already         is a Medicaid funded program with an
                                                                                                     challenging mix today's young people face .   average length of stay of 12-18 months.




                                              'I




Home isn't always a safe place for LGBTQ young people.
The teenage years are not easy ones. Young people struggle with school, parental issues and
emotional ups and downs as they transition into adulthood.

But when you are an LGBTQ teen, you can face far more serious dangers .. .simply because of     ,I
who you are.

To avoid a home environment that does not embrace or support questions about sexual identity,
many young LGBTQ youth run away from home, making them easy targets for human trafficking
or the dangers of street life.
                                     Case 2:18-cv-02075-PBT Document 13-8 Filed 06/07/18 Page 6 of 74

 Would you consider becoming an                                               Project Discovery
     LGBTQ Foster Parent?
It's the hardest job you'll ever love . .. and the most important one. Your
                                                                              by Crossroads
  support today could make the difference in all the tomorrows these
           young people will face . Don't let them do it alone!



               Get in Touch -
           We could use your help!
             Crossroads will provide ou r Project Discovery
                    therapeutic foster homes with:

                          • Specialized training
                              • Counseling
                          • Financial assistance
                            • Clinical Support
                             • Staff Support
             • Some services brought right to your home



   For more information about
 Project Discovery by Crossroads:
          Kerri Durkin                           Stephanie Green
         Program Director                 Treatment Home Coordinator
  kerri@crossroadsprograms.org         Stephanie@crossroadsprograms.org
        609.880.0210 x106                      609.880.0210 x120




                                   610 Beverly Ran cocas Road                 Life is a journey toward self-discovery...
                                                                              let Crossroads be part of that journey.
                                   Willingboro, NJ 08046
                                   P: 609.880.0210                            Project Discovery by Crossroads is designed to
                                   F: 609.880.0230                            provide safety and support for LGBTQ youth.      Crossroads
                                   www.crossroadsprograms.org                                                                   Programs
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6/4/2018                                           Case 2:18-cv-02075-PBT CROSSROADS
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                                                                    Razoo is now Mightycause! Same great fundraising tools, mighty new name.         READ MORE

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                                                                                 A B O U T ( /O RG A N I Z AT I O N /C RO S S ROA D S - P RO G R A M S )



                  LGBTQ Focused Services

                  In 2007, Crossroads opened Project Discovery, specialized Foster Homes for self-identi ed lesbian, gay, bisexual, transgender, and/or questioning (LGBTQ) youth. A program providing them with the
                  support and sensitivity necessary to address thier unique needs. While Project Discovery was growing, there were requests from the other providers and the community for something to bring
                  LGBTQ youth together for support, socialization and to know they are not alone. With the help of concerned youth and adults from the community, this group has nally come to fruition.

                  "Kaleidoscope" — Teens embracing, experiencing, and transforming the spectrum"

                  Meeting monthly at The Spot at the Voorhees Town Center, this youth run group hopes to offer support, advocacy and information to their peers. To our knowledge, we are the only such group in
                  South Jersey.

                  We are a grassroots, start up group with no grants or funding behind us. We will survive on the generosity of those who have taken this journey or watched someone take it and know what a
                  difference acceptance and support can make.

                  We need support for rent, background checks on the adult volunteers, snacks, supplies and to off set the cost of some of the events the youth hope to attend.

                  Our youth have so many exciting ideas about speakers and events (including a prom) that we want to tap into that energy as quickly as possible and reduce as many barriers as possible.


https://www.mightycause.com/organization/Crossroads-Programs                                                                                                                                                                           1/6
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           Attachment N
Local Organization Seeks Foster Parents for LGBTQ Youth – Philadelphia Magazine
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                                                           MAGAZINE •
NEWSLETTERS


                                                                ••••

    Local Organization Seeks
    Foster Parents for LGBTQ
    Youth
    by BRYAN BUTTLER            ·   5/28/2014, 9:00 a.m.



    ----
      




    The number of LGBTQ youth who are homeless or seeking shelter
    is staggering: according to recent studies by UCLA, nearly 40% of
    homeless youth identify as LGBTQ. A local South Jersey



https://www.phillymag.com/g-philly/2014/05/28/local-organization-seeks-foster-parents-lgbtq-youth/[6/4/2018 8:33:15 PM]
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    organization is trying to address the specific needs of foster homes
    for gay youth, and is seeking a few good people to help in their
    efforts.




    Next month, Crossroads Programs will be hosting an information
    session in Collingswood, New Jersey (a simple PATCO ride over
    the Ben Franklin Bridge) at the Collingswood Community Center
    for those interested in learning information about how to provide
    support and homes for LGBTQ youth.

    “When Crossroads Programs looked for a place to host an
    information session for potential foster parents for LGBT youth,
    they first thought of Collingswood,” said Lydia Cipriani, Director
    of Development and Communications for Crossroads, who called
    Collingswood “a progressive town with a significant gay
    community.”

    The organization wants to emphasize the distinct needs of LGBTQ
    youth, especially in a foster care situation. Program Director Kerri
    Durkin reinforced this point: “Lesbian, Gay, Transgender,
    Bisexual and Questioning teens are a particularly vulnerable group
    and they need adult support while going through a difficult period
    in their lives. Problems tend to loom large when you’re a
    susceptible teen. It’s important to have emotionally supportive
    adults in your life to let you know that you’re cared for and
    supported.”


    The Collingswood Community Center information session takes
    place on Thursday, June 26 from 6-8PM; it’s located at 30 West
    Collings Avenue. For more information, visit Crossroads
    Program’s website, or contact 800-601-4900.


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       Collingswood             LGBTQ Youth




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           Attachment O
N.J. youth agency looks to match LGBT adults, teens
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                 LGBT NEWS SINCE 1976
                                             Philadelphia Gav News                                    HONESTY • INTEGRITY • PROFESSIONALISM




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       PG N
   f
       REGIONAL


       N.J. youth agency looks to match LGBT adults, teens

       
PGN Staff 

June 19, 2014



       Fi1hhii tifobl @Mi=%!                          •
       Crossroads Programs was founded in 1978 to support and empower young people who have
       been abandoned, abused, homeless or at-risk and now the New Jersey-based organization
       hopes to inspire the LGBT community to help.

       Crossroads Programs implemented Discovery Project in 2006 to help find foster homes for
       LGBT youth and is redoubling its efforts with an information session geared toward LGBT-
       headed households later this month.

       Crossroads director of development and communications Lydia Cipriani said that Discovery
       Project grew from the high volume of youth the organization encounter who were
       marginalized because of their LGBT identity.

       “A high percentage of LGBT kids were running away or homeless because they were
       rejected for their sexual orientation or gender identity,” she said.

       And, when the youth entered the foster-care system, they were often met by families who
       were not accepting of their LGBT identity, said Crossroads CEO Michael Snyder.

       “There were a number of LGBT youth who were not feeling safe in traditional foster care,”
       Snyder said. “So we made it our mission to create a safe space and support youth in their
       development by recruiting families who would provide a loving, supportive home. These
       kids need to know that they are loved and cared for and if they have that supportive


http://www.epgn.com/news/regional/7396-25314381-nj-youth-agency-looks-to-match-lgbt-adults-teens[6/4/2018 8:33:46 PM]
N.J. youth agency looks to match LGBT adults, teens
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       environment, that is just one less thing they have to deal with.”

       Discovery Project normally serves up to 10 youth per year, who usually are 15 or 16, but who
       range from 12-21.

       To become a treatment foster parent, individuals must go through an interview, home
       check, trainings and licensing and be inspected by the state. Crossroads also offers
       additional training on LGBT issues.

       The agency conducts reference checks on the prospective foster parents and also looks to
       ensure the family can financial support a child. While the family is reimbursed up to $75 a
       day for their participating, Snyer noted fostering is not a salaried job.

       Program director Kerri Durkin said the youth who go through the Discovery Program are
       normal teenagers.

       “They are just like any other kid in the program except they are dealing with something
       additional. They have the same problems and emotional issues,” she said, noting it can be
       difficult to find people who understand the added pressures LGBT youth are facing. “It is an
       ongoing challenge with treatment and foster case in general with this population.

       LGBT adults, Cipriani noted, are a natural match for the program, as they’ve likely faced
       some of the same issues the youth are dealing with.

       “We want to find people who understand them and who will provide the tolerance and
       sympathy they need,” she said. “Historically, the LGBT community has come together for
       causes that are important to them and provide a lot of support.”

       Crossroads will host an information session from 6-8 p.m. June 26 at the Collingswood
       Community Center, 28 W. Collins Ave., in Collingswood.

       For more information, visit www.crossroadsprograms.org.



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           Attachment P
Mother/Baby Host Home | Pennsylvania
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  ABOUT US       WHO WE SERVE          BE A MENTOR         LOCATIONS       CAREERS        EVENTS          TELL US HOW WE ARE DOING



                                        Mother/Baby Host Home
  Children & Families
                                        It takes a village to raise a child, and at Pennsylvania MENTOR, we
    Therapeutic Foster Care             help build a community of support for the young mothers we serve.
    CRR Host Home                       In this program, young mothers living in the homes of our foster
                                        parents, who we call Mentors, receive intensive case management
    Mother/Baby Host Home
                                        services to help them be the best moms they can be. The teenage
    Behavioral Health                   girls are in foster care when they are pregnant or have already
    Rehabilitation Services             given birth. The baby lives with their mother in the Mentor’s home.
    Case Management &                   As long as it remains in the best interest of the child, the mother
    Resource Coordination               maintains full custody. Through our Mother Baby Host Home
    Services                            program, we help these young mothers learn how to support and
    Relief Support                      care for their child.

    Emergency After Hours
    Placement Response
                                        Personalized Support
    Service                             Our dedicated program service coordinators visit the young mothers in their Mentors’ homes. We make sure the young
    Family-Based Services               mothers are working with the support system we help them develop, a support system that includes:
  Adults with Disabilities
                                           •   Parenting classes
                                           •   Independent living classes
                                           •   Day care
                                           •   Support groups
                                           •   Access to health care, WIC, and transportation

                                        Our experienced team is available to the young mothers 24/7, offering constant guidance and support. Our goal is to
                                        make sure these young women have everything they need to be the best moms possible.

                                        This program is available in Philadelphia, Bucks, Montgomery, Delaware, and Chester Counties. Please call 215-925-
                                        3461 *5025 for more information.

                                        If you would like to help a young mother and her baby have the best start possible, go
                                        to www.makeadifferenceathome.com to learn more about becoming a Mentor!


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  ABOUT US 
 WHO WE SERVE 
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                                         Therapeutic Foster Care
  Children & Families
                                                                                  The children we serve in our Therapeutic Foster                       Open Your Heart
     Therapeutic Foster Care                                                      Care program may have intellectual and                                and Your Home
     CRR Host Home                                                                developmental disabilities or emotional and
                                                                                  behavioral challenges, and we provide them with
     Mother/Baby Host Home
                                                                                  nurturing homes where they can thrive.
     Behavioral Health
     Rehabilitation Services
                                                                                  A Personal Approach
     Case Management &
     Resource Coordination                                                    Every child is different, and our team of clinical
     Services                            coordinators, behavioral specialists, and therapists work with the child and their
                                         Mentor to develop an Individual Service Plan.  The plan outlines goals and personalized                    At Pennsylvania MENTOR, we
     Relief Support                                                                                                                                 believe every child deserves
                                         supports which include:
     Emergency After Hours                                                                                                                          to live in a safe, nurturing
     Placement Response                    •   24-hour home-based monitoring                                                                        home where they can feel
     Service                               •   Therapeutic intervention                                                                             valued and loved.  Our
                                           •   Nurturing support                                                                                    Therapeutic Foster Care and
     Family-Based Services
                                           •   Guidance                                                                                             CRR Host Home programs are
  Adults with Disabilities
                                           •   Access to routine family and community-based activities                                              designed to give them exactly
                                           •   Life skills development                                                                              that.
                                           •   Medication management oversight
                                                                                                                                                                          Watch Video
                                         It’s All about Relationships
                                         Our Therapeutic Foster Care program is supported by foster parents, who we call
                                         Mentors.  We call them Mentors because they are more than care providers to the
                                         children we serve – they are teachers, advocates, and friends.  Mentors open their
                                         homes and their hearts to the children we support.  We carefully screen our Mentors
                                         and provide them with specialized skill development opportunities to ensure they are
                                         able to support the children in our program.  We are with our Mentors every step of
                                         the way, providing them with 24/7 on-call support and guidance.

                                         If you are interested in learning more about how you can change a child’s life,
                                         go to Be a Mentor!

                                         Western PA Area

                                         412-731-7422

                                         Central PA Area

                                         717-657-2073

                                         Pittston/Pocono Area

                                         570-654-0953

                                         Lehigh/Wescosville/Reading

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                                                    Pennsylvania
                                                 Indian Child Welfare
                                                      Handbook




Developed By
The Pennsylvania Child Welfare Training Program
University of Pittsburgh, School of Social Work
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                Pennsylvania Indian Child Welfare Handbook


    The Pennsylvania Child Welfare Training Program is a collaborative effort of the
 Pennsylvania Department of Public Welfare, University of Pittsburgh, School of Social
  Work, and the Pennsylvania Children and Youth Administrators established to train
 direct service workers, supervisors, and administrators in providing social services to
  abused and neglected children and their families. The Training Program is centrally
                managed and regionally administered by the University.




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                                                 Mechanicsburg, PA 17055
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                                                    Section I
                                                  Introduction

About the Handbook
This handbook has been developed as a way of disseminating information regarding the
Indian Child Welfare Act (ICWA) and what it requires of county children and youth
agencies and private providers throughout the Commonwealth. It is intended to be used
as a quick-reference guide for staff in working with American Indian children and
families, and is not a substitute for comprehensive training. Indian Child Welfare is part
of Child Welfare and each State has the responsibility to implement best practice within
the requirements of law.

The handbook provides historical context for the passage of ICWA, details the major
requirements of the Act, includes cultural considerations for agency staff when
practicing Indian Child Welfare work, hearing checklists and Tribal contact information.

What is the Indian Child Welfare Act?
The Indian Child Welfare Act, which went into effect in 1978, establishes minimum
standards for the handling of child custody cases involving Indian children. Child
custody cases for the purposes of ICWA are:

                   ¾        Foster care placement;
                   ¾        Termination of parental rights;
                   ¾        Pre adoptive placemen or;
                   ¾        Adoptive placement.

ICWA recognizes the government-to-government relationship that exists between the
United States and tribes. ICWA does not govern the actions or practices of tribes.
Instead, it honors the authority of tribes to intervene in child welfare matters and
provides that Tribal Courts have authority to adjudicate child custody cases involving
children of the tribe. Most tribes in the United States now have their own child welfare
services.

Why is it important in Pennsylvania?
At one time numerous tribes resided in what we now call Pennsylvania. The
Susquehanock, the Erie, the Delaware, the Honniasont and the Shawnee are a few of
the tribes that lived within the Commonwealth’s borders. Although currently, there are
no federally recognized tribes residing in Pennsylvania, many Indians are residents of
Pennsylvania. Approximately 50,000 Indian people (American Indian alone or in
combination with another race) reside in Pennsylvaniai. According to the 2000 U.S.

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Census, just over 15,000 children under the age 18 are Indian or are Indian in
combination with another raceii. Some families have been in the area for many
generations; other families are from elsewhere in the country. Many are enrolled or
eligible for enrollment in tribes. ICWA applies whenever a child who is enrolled or
eligible for enrollment in a tribe is involved in a child custody proceeding.

Federal Recognition
Federally recognized tribes have dependent sovereign nation status. This means that
they have the authority to govern themselves. Some tribes choose leaders using
traditional ways and other tribes have adopted a constitutional way of electing leaders.iii
In addition, federally recognized tribes are eligible for federal benefits including health
care and housing. There are over 550 federally recognized tribes and Native Alaskan
villages in the United States. Some 200 more tribes are petitioning for recognition.iv
Some tribes have lost federal recognition. The Menominee Tribe lost federal recognition
in the 1960’s through a federal termination program. The program was unsuccessful
and the Menominee regained their federal recognition in the 1970’s.




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                                                       Section II
                                                  Historical Overview

To understand ICWA, one must understand the historical context in which ICWA was
crafted. This historical overview is brief and is not intended to represent a complete
history. Its purpose is to assist the reader in understanding major events that
precipitated the necessity of ICWA. ICWA was passed in response to information that
revealed that Indian children were being removed from their homes and placed in foster
care at much higher rates than non-Indian children. Many children were removed from
their homes because of a lack of understanding of Indian culture and child rearing
practices. In addition, an overwhelming majority of Indian children were being placed
with non-Indian caregivers who not only did not understand the culture from which the
Indian children came they were unable to maintain the cultural connections.

When the settlers came to America, Indian tribes lived all over the United States in
every State. Tribes were pushed from their homes and migrated further west. Conflict
occurred as the settlers pushed their way further into the country and from
misunderstandings of culture. For example, when the settlers offered Indian tribes
trinkets for land, the Indians never realized that they were selling the land. In Indian
culture, the creator made the land for all men and animals to use. Land was not bought
or sold. Once the settlers began to develop governments, policies regarding Indians
were established. Federal policy has flipped from annihilation of Indian tribes and
culture to assimilation and somewhere in between.

In 1887, Congress enacted the Dawes Act. The Dawes Act was supposed to protect
Indian land. It allowed Indian male heads of family to register to claim 160 acres of
reservation land. Smaller allotments were given to single men and orphaned men. In
order to register, an Indian had to use a more socially accepted name. His tribal name
could not be used. Some of the workers registering Indians under the Dawes Act used
the names of their friends and family when registering Indians thereby making it
possible to steal the land from the Indians. To determine who was Indian and eligible for
the land, the blood quantum theory was used. Those who could document that they were one
half or more Indian were registered on the rolls and given land. Some of the land given
to Indians was desert land. Once the reservation land had been divided among the
“blooded’ Indians, the rest of the reservation land was sold to non-Indians. What was
supposed to assimilate and “civilize” the Indians by providing them with property
ownership and giving them an acceptable way of living as farmers, further robbed the
Indians of their culture and way of life.




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The creation of boarding schools was an attempt to mainstream Indians into society.
What it did was forcibly remove children from their families and place them far from their
homes. They were not allowed to speak their language nor to have or to practice
anything that resembled their Indian culture, including their name. This was another
attempt to civilize the Indians by “killing the Indian and saving the man”. Richard Henry
Pratt ran the first boarding school in an abandoned military barracks in Carlisle. Indian
parents who resisted sending their children to boarding schools were denied rations;
others had their children removed by force. In 1928, a report commissioned by the
Indian Commission brought to the forefront criticism of boarding schools and of
government policy regarding Indians. This same report also led to repeal of the Dawes
Act. By the 1930’s boarding schools were being closed. But even as the pendulum
eventually shifted from assimilation to providing services to assist families, the Indian
tribes were not consulted. Someone else who was not Indian determined what was
needed and what was best.

At the time of enactment of the Indian Child Welfare Act, Congress laid out a clear
statement of fact:

             “That there is no resource that is more vital to the continued existence and
              integrity of Indian tribes than their children and that the United States has a
              direct interest, as trustee, in protecting Indian children who are members of or
              are eligible for membership in an Indian tribe,

             That an alarmingly high percentage of Indian families are broken up by the
              removal, often unwarranted, of their children from them by non-tribal public
              and private agencies and that an alarmingly high percentage of such children
              are placed in non-Indian foster and adoptive homes and institutions, and

             That the States, exercising their recognized jurisdiction over Indian child
              custody proceedings through administrative and judicial bodies, have often
              failed to recognize the essential tribal relations of Indian people and the
              cultural and social standards prevailing in Indian communities and families.”




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                                                 Section III
                                           Congressional Findings




                 Congressional Declaration of United States Policy

        When enacted in 1978, the Indian Child Welfare Act was given by
                       Congress the following purpose:


 “Congress hereby declares that it is the policy of this Nation to protect the
best interests of Indian children and to promote the stability and security of
     Indian tribes and families by the establishment of minimum federal
   standards for the removal of Indian children from their families and the
placement of such children in foster or adoptive homes which will reflect the
  unique values of Indian culture, and by providing for assistance to Indian
        tribes in the operation of child and family service programs.”




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                                                  Section IV
                                           Cultural Considerations

Given that there are over 550 Indian tribes and Alaskan villages, each with unique
cultural considerations, this section will give a brief overview of factors that are intrinsic
to most Indian tribal cultures. Although the non-Indian worker should bear these
considerations in mind when working with an Indian family, the worker should also
educate himself when working with a family of a particular tribe. Some families may be
very traditional and other families may be less traditional. Each family and each
individual within that family should be assessed based in context of their own history,
tribal affiliation, connectedness to that tribe and amount of assimilation into the
dominant society.

The non-Indian worker should tune into his own personal biases. Most non-Indians have
very little exposure to Indians and Indian cultures except for what is portrayed in
television, movies, and books of the dominant culture. The non-Indian worker may have
pre-determined concepts of what is Indian based on these sometimes inadequate
portrayals. Often Indians are depicted in a either a romantic, melodramatic portrayal or
an unsophisticated, violent portrayal. In addition to addressing his own personal biases,
the worker may also have to tune into biases that the Indian family may have toward the
non-Indian worker.

Provided the acrimonious nature of the historic relationship between Indian and non-
Indian peoples overall as well as that between the federal government and tribal
nations, it is not unusual to find Indian families who are still distrustful of non-Indians
and of government agencies. In addition to not making assumptions based on faulty
portrayals perpetuated by the dominant society, the worker should also not presume
some knowledge enables him to make educated assumptions. The strengths and needs
of the Indian family should be understood within the context of tribal culture and not
assessed as a result of the context of tribal culture. Admitting a lack of understanding
and asking questions could go a long way in engaging a reluctant and suspicious family.
A worker might ask if the family has concerns because of the differences in background
and culture. By making the cultural difference a topic in the preliminary engagement
process, a family may be more willing to discuss feelings of mistrust and suspicion.
Addressing the differences in culture early on may lay better foundation for the worker
to effectively contract with the family later.

In addition to admitting lack of knowledge and differences in culture, it is important that
the non-Indian worker identify and acknowledge feelings of anger, rage, and resentment
resulting from the anguish inflicted by attempts to annihilate Indian culture at any cost. It

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is difficult for a non-Indian to comprehend the magnitude of what has happened to
Indian people. Almost every Indian family has been negatively affected. Tribal lands
have been lost, communities destroyed, customs and languages lost and children
forever removed from families. The worker should do this without seeming defensive. It
does not matter that the worker was not the one to do these things. It is enough that is
was done.

The way a family perceives their culture is illustrated in their everyday life. Because
Pennsylvania has no federally recognized tribes, workers will not be meeting families on
tribal reservations. The family’s cultural identity and their extent of assimilation will still
be visible in their family customs, their language, their spiritual beliefs, and their
relationship to extended family. As in working with any family, a worker cannot assess a
family’s behavior and actions based on the worker’s own culture and experience. For
example, a worker may fail to recognize not maintaining eye contact as a sign of
politeness if he only evaluates that behavior based on his own culture and experience. It
is always important regardless of the culture of the family or the culture of the worker to
assess the family based on their cultural norms which may be slightly varied from family
to family even within the same tribe.

Most Indian culture recognizes the importance of the extended family. Tribes live as a
community in a way that emphasizes sharing and expounds on the greater good of the
whole rather than the good of the individual. For example, child-rearing responsibilities
may be shared by extended family members in addition to the parents. There may be
times as well when extended family members provide the bulk of the child rearing.
Children are viewed in typical tribal culture as gifts from the creator. If they are not
properly cared for, the creator may choose to take them back. When coupled with
Indian philosophy that all things are connected and when the world is unbalanced
harmony is disrupted, it makes sense that responsibilities and the basics of life are
shared. It would not be unusual for an Indian family to house, feed and clothe extended
family members even if they barely have enough for themselves.

For many Indian families, the extended family is the primary support resource. If an
Indian family has a connection to their extended family, it would be important to include
them in the casework process. Resistance can be reduced when a family sees value
and appropriateness in the intervention. The family may value the inclusion of elders or
traditional healers. The worker must be sure to recognize and respect that each
extended family group has it own rules and ideals. Even if the extended family is not
part of the permanency goal for a child, they should be included in the planning making
process. For every child regardless of culture it is important to maintain connections to
culture and community. Although the tradition of extended family can be a great

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resource, the worker must be careful of causing family division in addition to already
existing family divisions. As within any family, the worker must recognize and show
consideration for the roles of various members as decision makers or advice givers.
Many decisions are made with consultation and approval of extended family members.



     As true in developing any relationship, the worker must employ active listening,
      communicating concern and acceptance verbally, and non-verbally.

     The worker’s sincerity may be tested. The worker could be assessed verbally
      and non-verbally using silence and even humor. The worker should not be
      surprised if the family asks personal questions of the worker.

     The use of humor is an important part of Indian culture. If the family jokes with
      the worker it may be an indication of rapport.

     Pauses and silences during conversation are important. Many Indian people are
      taught to think carefully through something before responding. Don’t rush a
      response.

     Another way to build rapport is the use of casual conversation. By taking time to
      engage in some non-work related conversation the worker establishes who he is
      as a person.

     A gentle handshake could be offered as a sign of respect.

     Extended family members may be present and communicate through a
      designated person. Don’t urge everyone to actively participate.

     Time kept by the clock may be more important to you than the family.

     The worker may be offered a beverage and/or food. If refused the family may be
      very insulted.

This brief overview of cultural considerations is by no way all-inclusive but rather
designed to help the worker to begin to appreciate Indian culture and to spark interest in
adding to the worker’s knowledge base. All tribes, all extended families and all
immediate families are unique.




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                                                    Section V
                                                  ICWA BASICS

                           When Does ICWA Apply?
   ICWA applies when an Indian child is involved in a child custody proceeding.

Indian Child
     Person who is:
     • Unmarried and;
     • Under age 18

        And either:
        • A member of an Indian tribe or;
        • Is eligible for membership in an Indian tribe and is the biological child of a
           member of an Indian tribe

Child Custody Proceeding
      Foster care placement – any action removing an Indian child from his parent or
Indian custodian for temporary placement in a foster home or institution or the home of
a guardian or conservator where the parent or Indian custodian cannot have the child
returned upon demand but where parental rights have not been terminated.

     Termination of parental rights – any action resulting in the termination of the
parent-child relationship.

      Pre adoptive placement – the temporary placement of an Indian child in a foster
home or institution after the termination of parental rights, but prior to or in lieu of
adoptive placement.

      Adoptive placement – the permanent placement of an Indian child for adoption
including any action resulting in the final decree of adoption.

                                        When Does ICWA Not Apply

        •     A temporary placement arrangement in which the parent or Indian custodian
              can have the child returned at any time, such as a Voluntary Placement
              Agreement.
        •     Custody awarded to a parent as part of a divorce proceeding.
        •     Most delinquency proceedings.



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                                               Section VI
                                        ICWA Terms and Definitions

Child custody proceeding --
foster care placement – any action removing an Indian child from his parent or Indian
custodian for temporary placement in a foster home or institution or the home of a
guardian or conservator where the parent or Indian custodian cannot have the child
returned upon demand, but where parental rights have not been terminated;
termination of parental rights – any action resulting in the termination of the parent-child
relationship;
pre adoptive placement – the temporary placement of an Indian child in a foster home
or institution after the termination of parental rights, but prior to or in lieu of adoptive
placement; and
adoptive placement – the permanent placement of an Indian child for adoption,
including any action resulting in a final decree of adoption. Such term or terms shall not
include a placement based upon an act which, if committed by an adult, would be
deemed a crime or upon an award, in a divorce proceeding, of custody to one of the
parents.

Extended family member – defined by the law or custom of the Indian child's tribe or,
in the absence of such law or custom, shall be a person who has reached the age of
eighteen and who is the Indian child's grandparent, aunt or uncle, brother or sister,
brother-in-law or sister-in-law, niece or nephew, first or second cousin, or stepparent.

Indian – any person who is a member of an Indian tribe, or who is an Alaska Native and
a member of a Regional Corporation as defined in 1606 of title 43.

Indian child – any unmarried person who is under age eighteen and is either (a) a
member of an Indian tribe or (b) is eligible for membership in an Indian tribe and is the
biological child of a member of an Indian tribe.

Indian child's tribe – (a) the Indian tribe in which an Indian child is a member or eligible
for membership or (b), in the case of an Indian child who is a member of or eligible for
membership in more than one tribe, the Indian tribe with which the Indian child has the
more significant contacts.

Indian custodian – any Indian person who has legal custody of an Indian child under
tribal law or custom or under State law or to whom temporary physical care, custody,
and control has been transferred by the parent of such child.



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Indian organization – any group, association, partnership, corporation, or other legal
entity owned or controlled by Indians, or a majority of whose members are Indians.

Indian tribe – any Indian tribe, band, nation, or other organized group or community of
Indians recognized as eligible for the services provided to Indians by the Secretary
because of their status as Indians, including any Alaska Native village as defined in
section 1602(c) of title 43.

Parent – any biological parent or parents of an Indian child or any Indian person who
has lawfully adopted an Indian child, including adoptions under tribal law or custom. It
does not include the unwed father where paternity has not been acknowledged or
established.

Reservation – Indian country as defined in section 1151 of title 18 and any lands not
covered under such section, title to which is either held by the United States in trust for
the benefit of any Indian tribe or individual or held by any Indian tribe or individual
subject to a restriction by the United States against alienation.

Secretary – the Secretary of the Interior.

Tribal court – a court with jurisdiction over child custody proceedings and which is
either a Court of Indian Offenses, a court established and operated under the code or
custom of an Indian tribe, or any other administrative body of a tribe, which is vested
with authority over child custody proceedings.




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                                              Section VII
                                      What Does ICWA Mean for Me?

Involuntary child custody proceedings

It is the responsibility of the county children and youth agency as the petitioning agency
to notify the tribe when a child custody proceeding (see definitions page 10) involves
an Indian child or a child who may be an Indian child.

If the child is not currently a member of the tribe, the county children and youth agency
must contact the tribe for determination of the child’s membership. Each tribe solely
determines membership (for Tribal contact list, see Appendix B).



Jurisdiction

The child’s tribe has the right to intervene at any point in child custody proceedings.

Tribes have jurisdiction over child custody proceedings of children residing on
reservation; this may be concurrent with the state (P.L. 280 states tribes may have
exclusive jurisdiction). When a Tribal Court has custody of an Indian child, the Indian
tribe retains exclusive jurisdiction regardless of where the child lives.

Tribes may petition for transfer of the child custody proceeding. The juvenile court may
have temporary jurisdiction over an Indian child who is temporarily or permanently living
off of the reservation. Jurisdiction must be transferred from juvenile court to tribal court
upon the petition of the tribe, parent or Indian custodian unless there is good cause to
the contrary.

There is no definition for good cause to the contrary. The court will determine if good
cause to the contrary exists.

The county children and youth agency must send notice by registered mail, to the
parent, Indian custodian and tribe of pending child custody proceedings in juvenile court
(for Tribal contact list, see Appendix B).

Notice must include the following:
      o Child’s name;
      o Child’s tribal affiliation, if known;
      o Copy of document or petition which initiates the action;

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         o County Agency contact information (petitioner) including contact information
           for county agency attorney;
         o A statement informing the parents, Indian Custodian and tribe of their right to
           intervene;
         o A statement that if the parents, Indian Custodian or tribe are unable to afford
           counsel one will be appointed for them;
         o A statement that the parents, Indian custodian or tribe can have up to twenty
           days to prepare for the proceedings;
         o The Court’s location, mailing address and telephone number;
         o A statement informing the parents; Indian custodian or tribe of the right to
           request a transfer to tribal Court;
         o The potential legal consequences on the rights of the parties if the child is
           adjudicated dependent; and
         o A statement that child custody proceedings should be kept confidential.

If the identity or location of the parent or Indian custodian and the tribe is unknown,
the notice shall be given to the Secretary of the Interior, who shall have fifteen days
after receipt to provide the requisite notice to the parent or Indian custodian and the
tribe.

No foster care placement or termination of parental rights proceeding shall be held
until at least ten days after receipt of notice by the parent or Indian custodian and the
tribe or the Secretary provided that the parent or Indian custodian or the tribe shall,
upon request, be granted up to twenty additional days to prepare for such proceeding.

All parties have the right to examine all reports or documents related to the case.

The court must be satisfied that active efforts have been made to provide remedial and
rehabilitative services to prevent family breakup and that these efforts have failed.

A court order for placement must be determined by clear and convincing evidence
including qualified expert witness testimony that continued custody of a child by the
parent is likely to result in serious emotional or physical damage to the child.

A qualified expert witness is meant to be someone with expertise beyond a social
worker and includes:
      ◊ tribal members recognized by the tribe as knowledgeable in family
          organization and child rearing,
      ◊ lay experts with substantial experience in Indian child and family services, or
      ◊ professional persons with considerable experience in their respective field.

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Foster care placement preferences must follow a prescribed order, absent good
cause to the contrary:
(1) a member of the child’s extended family,
(2) a foster home that is approved or licensed by the child’s tribe,
(3) an Indian foster home of another tribe that is licensed by the appropriate agency; or
(4) an institutional placement for children that is approved by the child’s tribe and is
suitable to meet the child’s needs.

Termination of parental rights may not be ordered without showing beyond a
reasonable doubt that the continued custody of a child by the parent is likely to result
in serious emotional or physical damage to the child. Evidence must include testimony
of a qualified expert witness.

Adoptive placement requires preference be given, absent good cause to the contrary,
to placement with:
(1) a member of the child’s extended family;
(2) other members of the child’s tribe;
(3) members of other tribes; or
(4) a non-American Indian family.

Adoption can be overturned within 2 years if fraud or duress is proven.

An Indian adoptee who is at least 18 years of age may, through the court, request
his/her adoption records to identify possible tribal affiliation and any rights he/she may
be entitled to as an Indian person.



Voluntary child custody proceedings

Voluntary placement agreements may be withdrawn at any time and the child must
be returned to the parent.

Voluntary consent to termination of parental rights must be done in writing and
recorded in the presence of a judge; certification is required that the parents fully
understood their consent.

Any consent for adoption given prior to, or within 10 days after birth is not valid (Note:
Adoption Act (23 Pa C.S. Chapter 27) at §2711 (relating to consents necessary to
adoption) requires that any consent given within 72 hours is not valid.)



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Consent to termination of parental rights or to adoption may be withdrawn at any time
for any reason prior to entry of final decree. (Note: Adoption Act (23 Pa C.S. Chapter
27) § 2711 (relating to contents of consent) requires that the consent can only be
revoked by the parent within 30 days of its execution.)




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                                                      Section VIII
                                                    ICWA Process
          Indian                    Tribe                    No.
          Child?                   Member?                                           Contact Tribe.
                                                                                      Every Tribe
                                                                                    determines own
                                                                                   membership criteria.
                                        Yes.



                                                                                   Tribe
                                                                                   determines
                                Contact Tribe.                                     child is a
                                                                                   member?




                                                                                                                    No.
                           Determination                              Yes.
                          made by tribe to
                              assume
                            jurisdiction?



                                                                                                                Follow
                                                                                                                standard
                                                                                                                policy and
                 Yes.                       No.                                                                 procedure.



                                                  Make active efforts to prevent placement and follow ICWA
                                                  preferences for placement.
        Transfer to Tribe unless                     Foster care placement:
       court determines that good                    (1) a member of the child’s extended family,
         cause to the contrary
                                                     (2) a foster home that is approved or licensed by the child’s tribe,
                 exists.
                                                     (3) an Indian foster home of another tribe that is licensed by the

                                                     appropriate agency; or

                                                     (4) an institutional placement for children that is approved by the child’s

                                                     tribe and is suitable to meet the child’s needs.

                                                     Adoptive placement:

                                                     (1) a member of the child’s extended family;

                                                     (2) other members of the child’s tribe;

                                                     (3) members of other tribes; or

                                                     (4) a non-American Indian family.




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                                        Footnotes and Bibliography



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                                                   Section X
                                                  Appendices



A.       Indian Child Welfare Act


B.       Resource Directory of U.S. Tribes as Published in Federal Registry


C.       Hearing Checklists


D.       Additional Resources




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                                   WELCOME TO RAINBOW ADOPTIONS
  Rainbow staff are happy that you are considering adoption and would love an opportunity to work with you in
  achieving this goal. We service families interested in domestic, private, or international adoptions. However,
  we specialize in the placement of children with special needs. Supportive and financial services are provided
  for many of these placements.

  Most of our available children are classified as having special needs and follow under one or more of the
  following categories:

       •   children 0-18 years old who have been abused, neglected or abandoned.
       •   children that have physical, intellectual and/or behavioral problems.
       •   children who are members of sibling groups (allowing the children to stay together).
       •   children of minority races, especially Asian, Hispanic, Black and bi-racial, and Native American (the
           greatest need is for minority families for this group of children.)

                                                         CRITERIA FOR APPLICATION


  Rainbow serves three groups of people:

       • Native American Families
       • Families residing in Western PA of any race, sex, religion or income level, and
       • Birth mothers who are considering the plan of adoption for their infant or child.
  It is Rainbow's goal to work with families and not against them.

                                                            TYPES OF SERVICES


  Rainbow provides adoption related services to families and children. Our staff completes the home-study,
  searches, and post-placement services. We can arrange for parenting training, support groups, and often
  financial, medical and social services for the child.
  Rainbow offers counseling services to birth mothers. We allow and encourage active participation from the
  birth mothers in choosing an adoptive family for her infant.

                                                          THE ADOPTION PROCESS

  The first step in the adoption process is the completion of a homestudy. During the homestudy, a social
  worker with special training in adoption will conduct family preparation sessions. The family preparation
  sessions will give the social worker a clear understanding of the prospective adoptive family's reasons for
  adoption and their expectations about parenting.

  These sessions will include the following topics:

  · the types of children awaiting adoptive homes
  · parenting the adopted child
  · behaviors and handicaps
  · bonding and attachment
  · separation, loss and grief
  · the adoption triad


http://www.cotraic.org/adopt.html[6/4/2018 8:35:35 PM]
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  · parenting the sexually/physically abused child

  Personal references and physicians will be contacted and a criminal and child abuse background check must
  be complete. Once all paper work is received, there will be a visit to the family's home.

  TYPICAL WAITING PERIOD
  When you have successfully completed the homestudy, you will be eligible for the placement of a child in
  your home for the purpose of adoption. Given the factors of the adoptive family's preference and the
  availability of children, we canot tell you how long it will take for you to receive a chile. In most circumstance,
  however, families adopting special needs children usually have a brief wait.

  POST-PLACEMENT SERVICES
  After a child is placed with you, the agency will schedule a minimum of three (3) post-placement visits to
  assist and evaluate your transition to adoptive parenting. These visits occur over a six-month period, and at
  their positive conclusion, this agency will give its consent to legal finalization of the adoption of your child.
  Adoptive parents retain independent counsel to complete this process.

  Thank you for your interest in Rainbow Adoptions. Please let us know if we can provide any additional
  information by contacting our agency at (412)782-4457. One of our goals is to reduce the number of children
  who wait for permanent homes. We hope that you choose to work with Rainbow Adoption Services to build
  your family.


  120 Charles Street
  Pittsburgh, PA 15238
  Telephone: (412) 782-4457
  FAX: (412) 767-7808
  E-mail: mgold@cotraic.org

                          HOME | HEADSTART | EARLY | ELDERS | CULTURAL | WIA PROGRAM
                                                         Updated August 1, 2011




http://www.cotraic.org/adopt.html[6/4/2018 8:35:35 PM]
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    Quarterly Indicators Report
    May 11, ·2018
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           CITY OF PHILADELPHIA
           . DEPARTMENT OF
             HUMAN SERVICES
Executive Summary
The Quarterly Indicators Report highlights trends in essential Philadelphia Department of Human
Services (OHS) and Community Umbrella Agency (CUA) functions, key outcomes, and progress toward
the four primary goals of Improving Outcomes for Children (IOC):

  t.ii:\   More children and youth maintained safely in   ~         A reduction in the use of congregate care
  \!!) their own homes and communities                      ··· ·

  @ More children and youth achieving timely              @improved child, youth, and family functioning
            reunification or other permanence

Data from the second quarter (October 1 - December 31) of Fiscal Year 2018 (FY18) reveal that the
system continues to deal with a higher volume of Hotline and Investigation activity:
    • There was a 12% increase in Hotline activity from FY17Q1-Q2 to FY18 Q1-Q2. FY18's projected
        total is expected to surpass FY17's total by 3,868 contact events.
There are many ways in which OHS and the CUAs are making strides towards IOC goals:
  ~ More cases closed than accepted for service. The total number of families receiving services
  \!!) continues to decline, and in the second quarter of FY18, more cases were closed than accepted
        for service.

 ®         Emphasis on kinship care. Nearly half of all youth in placement (47%) are in kinship care.

 ~ Many youth live close to home. Over half (51 %) of the youth in foster and kinship care live
 \!!) within 5 miles of their home, and three quarters (76%) live within 1O miles.

  ~ Increases in permanency totals. The total number of youth achieving permanency has
 'el increased every year since FY15, and the reunification rate for FY18 Q1-Q2 was 6 percentage
           points higher than the rate in FY13 Q1-Q2.

 ~ Decrease in congregate care. The percentage of youth in congregate care (11.3%) has
 e         declined by 7.7 percentage points in 4 fiscal years, and falls below the national average (13%).

 @ Continued decrease in repeat maltreatment. Despite an increase in total CPS reports, the
           overall percentage of indicated reports with re-abuse in FY17 has remained comparable to
           previous Q1-Q2 rates.
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The report also reveals areas in which OHS and CUAs can continue to improve:

    •     Declines in caseloads, but slightly higher than DHS' goal. CUA case management workers
          carry an average of 11.2 cases. While this represents a decrease in caseload ratio from previous
          years, OHS is committed to funding CUAs for a 1:10 ratio.

    •     Fewer cases closed. In the first two quarters of FY18, OHS and CUA staff closed 154 fewer
          cases than they did in FY17 Q1-Q2, a decrease of 9%.

  @ Decreases in permanency timeliness. While the one-year reunification rate for the first two
          quarter of the fiscal year has increased slightly, the two-year adoption rate for the first two
          quarters of FY18 was below 10% (compared to 40% in FY13) and the two-year PLC rate was
          below 20% (compared to 57% in FY13).

The report provides additional details for each of these areas and is organized by Department and CUA
functions-Hotline, Investigation, and Service Delivery. Data associated with key outcomes-
Permanency and Re-entry-are included in Section IV of the report. The methodology for the report is
included in the appendix.
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    I.               Hotline
    The following section includes information related to Hotline, including volume (Figure 1) and screen out
    rate (Figures 2 and 3).

    Figure 1. Hotline Report Activity
     60,000                                                                                                   38,116
     50,000
     40,000
     30,000
     20,000
     10,000
              0
                            FY14                 FYlS                FY16                  FY17                FY18

     Data run 2/14/18              • Total Through FY Q2   lll!Annual Total    1m Projected Annual Total


          •       The combined Hotline activity of Q1 and Q2 has increased every year since FY14.
          •       Hotline handled an additional 1,814 contacts (12% increase) in FY18 Q1-Q2 compared to FY17
                  Q1-Q2.
          •       The projected number of total hotline contacts for FY18 is expected to surpass FY17 totals by
                  approximately 3,868 (11% increase).

Figure 2 below shows how many contact events were not accepted for investigation ("screened ciut")
because they do not meet CPS or GPS criteria.' In September 2017, a secondary screen out process
beg!m in the Hotline. With this new process, Hotline workers complete field screenings of GPS reports
that are given the response priority time of 3 to 7 days.

Figure 2. Total CPS/GPS Screen Outs
    20,000                                                                                                  17,275*

    15,000

    10,000                                                         8,181
                           4,003                5,117
         5,000

              O+--------.---------.--------,---------,---------,
                            FY14                FYlS                FY16                 FY17                FY18
                 Data run 2/14/18                                                                   *Projected FY18

                 •     Compared to FY17, an additional 39% (4,864) of contact events are expected to be screened
                       out in FY18. 2
                 •     The projected FY18 screen out total is expected to be more than 4 times the total for FY14.

1
2
  Hotline Administrators review monthly samples to ensure the screen outs are appropriate.
  This is an increase of 2,775 from our FY18 projections after Q1. The change is due to an increase in screen outs
from Q1 to Q2.

1                                                                     0=      Key Success   (I)= Ongoing Challenge
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DHS created the Secondary Screen-out unit in late Summer 2017 to review GPS reports with a 3-7 day
priority that were not immediately accepted for investigation. The unit may confirm the decision to screen
out a case after an initial review (with or without a referral to prevention services) or the unit may deploy a
hotline worker for screening. Deployed hotline workers may choose to send a case to intake for
investigation or screen it out (labeled as screen out after deployment in Figure 3). Figure 3 below details
the four outcomes for cases that were sent to the Secondary Screen-out unit: sent on to intake, screened
out after deployment of hotline worker, screened out after the initial review, or sent to prevention.

Figure 3. Outcomes for Secondary Screen-out Cases 8/31/2017- 3/2/2018
    1400
    1200
    1000
    800
     600
    400
    200
          0
                    Intake      Screen out after          Screen out at     Prevention
                                  deployment              Initial Review

                                         ,,,. Specialty
                                                                                  N = 2514

      •       About half (48%) of secondary screen-out cases were sent to intake with 963 going to general
              intake and 243 going to the specialty unit.
      •       About a quarter (23%) of secondary screen-out cases were screened out after deployment and
              15% were screened out after the initial review.
     •        14% of secondary screen-outs were sent to prevention .




2                                                                          0=   Key Success   CD= Ongoing Challenge
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Figure 4 shows the action taken for each Hotline contact event.

Figure 4. Hotline Action
50,000

40,000
                                                                                                     "1e,Sm4"
30,000
                                                                                                     ;17'.215



                     I
20,000

10,000                       .
           0
                      FY14                 FY15              FY16                 FY17             FY18
Data run 2/14/18           • Accepted Investigations                  ,, Screen Outs
                           • Other reports*                           mProjected Accepted Investigations
                                 Projected Screen Outs                ,:; Projected Other Reports*

      • Other reports include referrals for law enforcement only, other jurisdictions, information only, and follow-up
      on a prior report
       •       Since FY14, screen outs and accepted investigations have continued to increase.
      0        Over time, a higher percentage of contacts are being screened out instead of being accepted for
               investigation.
                   o Close to one half (45.3%) of contacts in FY18 are projected to be screened out.
       •       The number of reports accepted for investigation in FY18 is projected to decrease by 1,638 (8%
               decrease), despite a projected increase in contact events.


II.            Investigations
The Investigations Section provides additional detail about the volume of investigations (Figure 5), accept
for service rate (Figure 6), and rate of repeat maltreatment (Tables 1 and 2).

Figure 5. Total Investigations
                 35,000
                                                                                 20,605
                 30,000
                 25,000
                 20,000
                 15,000
                 10,000
                  5,000
                      0
                                  FY14            FY15           FY16              FY17             FY18

                Data run 2/14/18         • 01   and Q2   • Annual Total • Projected Annual Total
       •       There were 819 fewer hotline reports accepted for investigation in FY18 Q1-Q2 compared to
               FY17 Q1-Q2, an 8% decrease.
       •       There will be an estimated 1,600 fewer investigations in FY18 than in FY17.




3                                                                       0=     Key Success     CD=    Ongoing Challenge
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Accept for Service Rate for Investigations
Figure 6. Investigations Accepted for Service (AFS)
    25%
                                                  21%
    20%          18%
                                                     e ---------17%                     17%                 17%

    15%
                  •                  -"' ,.-•· ,,- 1',";"
                                                                 •
                                                                 ;t't.,,-•,              •                   •
                                                                                                             ~~,,.
                                                  14%           15%                                         15%
    10%                                                                                 14%
                 12%

    5%.

    0%
                 FY14                            FY15           FY16                    FY17                FY18
                                                                                                           Ql-Q2
              N=12,031                      N= 13,628         N= 14,451               N= 14,898           N= 7,196
    Data run 2/27/18      ,·,_~j"'   %Cases Already Open        --% Cases AFS within 60 days


     •    The number of cases accepted for service within 60 days of the report date has remained fairly
          consistent from FY16 through the first half of FY18.
     •    The percent of investigated cases that were already open for service has remained fairly steady,
          fluctuating by three percentage points over the last five fiscal years (13-16%).

Repeat Maltreatment
The federal government and the state of Pennsylvania differ in how they measure repeat maltreatment.
Both measures are provided in this section.
Federal Measure
The federal measure for repeat maltreatment looks at the number of indicated CPS victims within a
specific 12-month period and examines how many had another indicated report within the following year.
Table 1 shows the rates of repeat maltreatment for FY14-17 using the federal measurement standard.




4                                                                             0=   Key Success    (I)= Ongoing Challenge
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                                                      I=
Table 1. FY15-17 Repeat Maltreatment-Federal Measure

Fiscal Year                 Indicated CPS Victims

FY14                        598                         14                                   2.3%
FY15                        768                         30                                   3.9%
FY16                        876                         33                                   3.8%
FY17 Ql-Q2                  399                      15                          3.8%
     •   33 of the 876 CPS v1ct1ms in FY16 (3.8%) had a subsequent CPS 1nd1cation within 12 months-
         the highest total number of victims in the past 3 fiscal years.
             o While FY15 and FY16 had similar rates, there were twice as many victims during these
                  years than in FY14.
     •   The first two quarters of FY17 had a rate comparable to FY15 and FY16.

Pennsylvania State Measures
The Pennsylvania State measures for repeat maltreatment look at the number of CPS reports received
during a specific time-period and identify those children who had a previous indication of abuse. The rate
of repeat maltreatment for the State, as per the 2016 PA DHS report, was 5. 7%. Table 2 shows the rates
of repeat maltreatment for FY15-18 using the Pennsylvania stale measure.

Table 2. Repeal Maltreatment-Pennsylvania State Measures

                                                                                                            FY18
                                                                      FY15         FY16         FY17
                                                                                                            Q1-Q2

Total Reports (CPS)                                                     4,926        5,232       5,786         2,738
# of Reports with Suspected Re-abuse 1                                    297          282           347         194
% of Reports with Suspected Re-abuse                                    6.0%         5.4%           6.0%       7.1%
# of Reports Indicated (CPS)'                                             663          777           953         507
% of Reports Indicated                                                 13.5%        14.9%       16.5%         18.5%
# of Indicated Reports with Re-abuse3                                      64           70            78          44
% of Indicated Reports with Re-abuse                                        9.7%        9.0%        8.2%       8.7%
                             . .                 ..
'Total reports where a child 1s 1dent1fied as a v1ct1m on a previous report at any time
2
  Number of CPS reports that were Indicated (allegations determined to be valid)                     Data run 3/13/18
'Number of Indicated CPS reports where the identified child was a victim on a previous report

    •    The overall percentage of reports with indicated re-abuse (last row of Table 2) has declined over
         three fiscal years, but the first two quarters of FY18 had a slightly higher rate.
    •    As shown in row 1, there has been an 860 CPS report increase (17%) from FY15 to FY17.
             o The first two quarters of FY18 suggest this trend may continue; the number of CPS
                  reports for FY18Q1-Q2 is higher than the first two quarters of FY16 and FY17-2,360
                  and 2,542, respectively (not displayed in the table above).
    •    In FY17, nearly 300 additional reports were indicated compared to FY15-a 44% increase.




5                                                                 0= Key Success (D= Ongoing Challenge
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Ill.       Services
This section looks at various aspects of service delivery including volume, services received, distance
from home, case management worker caseload ratios, and visitation.

Volume
The figures in this section look at trends in the total number of cases that have been accepted for service
or closed-both by month (Figure 7) and Fiscal Year (Figure 8), and the total number of cases open for
services (Figure 9).

Figure 7. Total Cases Accepted for Service and Closed by Month
    350
    300
    250
    200
    150
    100
     50
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                               2016                                                    2017

    Data run 2/27/18                      -Accepted for Service                  · -Closed•

*Case Closed or Transferred to Open for Non-CYD Services (Delinquent or Subsidy)

       •   The total cases accepted for service varies month-to-month but hovers around 250.
       •   Since its peak in July 2017, the total cases accepted for service has declined.
    Q,     For '.he first time since February 2017, Q2 had more closed cases than cases accepted for
           servrce.




6                                                                               0= Key Success (D= Ongoing Challenge
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  Figure 8. Total Cases Closed and Accepted for Service
      1,600
                                                           ,   ·"   ..   ,·   ;~'·.,,.,,.,~
                           1,506                                    1,563 •• ..•'"
      1,500


      1,400


      1,300


      1,200   +----------,----------,---------
                       FY16 Q1-Q2                     FY17 Q1-Q2                                          FY18 Q1-Q2
  Data run 2/27/18            ,., · -Total Case Closures                      - -Total Cases Accepted for Service

       (D 154 fewer cases were closed in FY18 Q1-Q2 compared to FY17 Q1-Q2, a decrease of 9%.
        •     The total cases accepted for service has fluctuated over the past 3 fiscal years; however, the
              FY18 Q1-Q2 total remained 2% (42 cases) below the FY16 Q1-Q2 total.

  Figure 9. Total Open Cases3 as of December 31'1 of Each Year

      6,400                 6,332


      6,200

      6,000                                                                                                       5,946


      5,800

      5,600

      5,400

      5,200

     5,000 + - - - - - - - - - ~ - - - - - - - - - - , - - - - - - - - - ~
                 12/31/2015           12/31/2016             12/31/2017
Data run 5/1 /18

        •     After a 9% decrease in open cases from December 31, 2015 to December 31, 2016, there was a
              slight increase through December 31, 2017 for a net change of -6% from 2015 to 2017.




  3
      Cases in the Adoption, PLC, and JJS queues were excluded.


  7                                                                                           ~= Key Success   CD= Ongoing Challenge
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    Service Type
    Two of the four main goals of IOC are to maintain children safely in their own communities and to reduce
    the utilization of congregate care. The tables and figures in this section provide information about what
    services youth are receiving. First, a point-in-time analysis highlights in-home (Tables 3 and 4) and
    placement (Table 5 and Figures 1Oand 11) totals. This is followed by an analysis of aggregate
    placements by year (Figures 12 and 13).

    Table 3. Total Cases and Children Receiving In-Home Services
'
I-  OHS
              ~--------i~-~--
                Cases  Children
                            23
                                -------r~--~--------
                       December 31, 2016
                                  December 31, 2017
                                 Cases       Children
                                               53
                                                       Percent Change
                                                      Cases     Children
                                                                    25              57          8.7%        7.5%
    CUA                  1,741              3,720             1,914              4,233           10%       13.8%
    Total                1,764              3,773             1,939              4,290          9.9%       13.7%
Data run 2/14/18
     •   Overall, there were 517 more youth and 175 more cases receiving in-home services at the end of
         December 2017 than in 2016 (13.7% increase in children, 9.9% increase in cases).

    Table 4. Total Cases and Children Receiving In-Home Services by Type

~--         -~---- --,- -!:::~-b-;j 3~~:~en              - -1- .
                                                               -:a:ce:nbe] 3~-:~~;e~1      -1---:::::11\c;~:;::e~-
    In-Home Non-Safety            1,036             2,110                1,153      2,456        11.3%     16.4%
    In-Home Safety                  728             1,663                 757       1,713           4%        3%
    Pending Type                  -------           -------                 91           121       N/A        N/A
    Total                         1,764             3,773                2,001      4,290        13.4%     13.7%
    Data run 2/14/18
       • There were 346 more children receiving in-home non-safety services at the end of December
            2017 than in 2016 (16.4% increase). There were also 117 more cases in December 2017,
            representing a 11.3% increase in cases from December 2016.
       • There were 50 more children and 29 more cases receiving in-home safety services at the end of
            December2017 than in 2016 (3% and 4% increases, respectively).

    Table 5. Total Cases and Children Receiving Placement Services




    OHS                   615                907                   275            477          -55.3%     -47.0%
    CUA                  3,036              5,170             3,292              5,542          8.4%        7.2%
    Total                3,651              6,077             3,567              6,019          -2.3%       -1.0%
    Data run 2/14/18
        •   There were 58 fewer youth receiving placement services at the end of December 2017 than in
            2016 (1% decrease).
        •   There were 84 fewer placement cases at the end of December 2017 than in 2016 (2.3%
            decrease).




    8                                                                0= Key Success (I)= Ongoing Challenge
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             HUMAN SERVICES
Figure 10. Children in Placement on December 31, 2017 by Placemen!Type4




                                                              • Family Foster Care
                                                              " Congregate Care
                                                              • SIL
                                                              • Pending




          Data run 2/2/18

      •      On December 31, 2017 a large majority (86%) of the 6,019 youth in placement were in family
             foster care.
      •      Roughly 1 in 9 (11.3%) youth in placement were in congregate care.

Figure 11. Children in Family Foster Care and Congregate Care on December 31, 2017
             31-----:::
             1%




                    Family Foster Care                                           Congregate Care

                   • Kinship Care                              ,,: Institution            • Group Home
                   • Foster Care
                   • Foster Care - Emergency                   • Emergency Shelter        • CBH    Funded RTF


      •      Of the 5,147 youth in family foster care on December 31, 2017, over half (54%) were in kinship
             care and 45% were in foster care.
      •      Of the 712 youth in congregate care, half (50%) were in a group home, and less than one third
             (29%) were in an institution.16% of youth in congregate care were in a CBH-funded Residential
             Treatment Facility (RTF), and 1 in 20 (5%) youth were in an emergency shelter.



4
    Percentages may not add up to 100% due to rounding.


9                                                                {;?)= Key Success CD= Ongoing Challenge
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    Distance from Home
OHS strives to keep children in or close to their communities. Table 6 shows the distance distribution for
youth in CUA foster and kinship care using a point in time analysis.

Table 6. Distance from Home for Children Placed in a CUA Foster & Kinship Care as of December 31,
2017
                                                                                           Unable to
                     0-2 miles         2-5 miles         5-10 miles        10+ miles       Determine



01 -NET              125     27%       134     29%       110      24%     69       15%     18       4%          456
02-APM               153     27%       120     21%       177      31%    101       18%     16       3%          567
03-TPFC              139     24%       153     26%       135      23%    145       25%     10       2%          582
04-CCS                88     25%        91     26%        77     22%      86       24%     10       3%          352
              6
05 -TPFC             182     26%      237      33%       159     22%     118       17%     13       2%          709
06-TABOR              76     25%        73     24%        77     25%      63       21%     14       5%          303
07 - NET              95     23%        83     20%       160     38%      69       16%     16       4%          423
08 - BETH             78     22%        70     20%        89     25%     105       29%     17       5%          359
09-TPFC              120     25%       109     23%       114     24%     121       25%     15       3%          479
              3
10-TPFC              120     25%       131     28%       107     23%      88       19%     28       6%          474


Data run 2/19/18

*Invalid home addresses include those outside of Philadelphia or incomplete addresses that could not be
geocoded. Distances were calculated using ArcMap10.5 GIS software.

     C')t. A majority (51 %) of children residing in family foster care lived within 5 miles of their home of
     V     origin and (76%) within 1O miles of their home of origin.




6
    Prior to 1/1/18, Turning Points for Children 5 and 10 were managed by Wordsworth.


11                                                                 G?)= Key Success (I)= Ongoing Challenge
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Caseloads
DHS is committed to reducing case management workers' caseloads to 1:10. Table 7 shows the
distribution of cases across workers by CUA, and Table 8 looks at caseloads for DHS' Ongoing Services
Region (OSR).

Table 7. CUA Case Management Workers' Caseload Distribution on December 31, 2017 7




01-NET                         45             511                      11                    11.4
02-APM                         45             510                      12                    11.3
03-TPFC                        53             576                      12                    10.9
04-CCS                         39             419                      12                    10.7
                8
05-TPFC                        81             884                      12                    10.9
06-TABOR                       30             395                      14                    13.2
07-NET                         47             484                      10                    10.3
08-BETH                        35             424                      14                    12.1
09-TP4C                        53             534                      11                    10.1
                5
10-TPFC                        50             562                      12                    11.2


    Data run 2/27/18
       •   As reported in Q1, there cimtinues to be little variation among CUA case management workers'
           median and average caseloads.
       •   NET-07 had the lowest median caseload (10), while Bethanna-08 had the highest median
           caseload ( 14).
       •   Turning Points-09 had the lowest average caseload (10.1 ), while Tabor-06 had the highest
           average caseload (13.2).

Table 8. DHS OSR Case Management Workers' Caseload Distribution on December 31, 2017 9




~
Data run on 5/9/18
    • DH S's Ongoing Services Region has an average caseload size of 9.2 and a median caseload of
           9.




7
  Table 7 excludes 192 cases that were not assigned to a worker in the database at the time of the data run.
8
  Prior to 1/1/18, Turning Points for Children 5 and 10 were managed by Wordsworth.
9
  Table 8 does not include Intake or Adoptions. Unlike Table 7, no cases or positions were excluded from the
analysis.


12                                                                0=        Key Success©= Ongoing Challenge
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Monthly Visitation
Pennsylvania State guidelines require that case management workers visit youth at least monthly. The
following tables and figures show visitation rates for CUAs and DHS. 10

Table 9 shows visitation for all dependent children, and Table 1O shows a subset of dependent children-
those ages 5 and under. Figure 14 displays visitation rates for the last six months, and Figure 15 looks at
visitation rates by CUA.

Table 9. Visitation for Dependent Children
                        March 2017                                   March 2018
            Total Children                      Total Children
 DHS                                                                    704
 CUA                   10,016                                       10,599


      •    Compared to March 2017, CUA and DHS rates slightly declined (-2%).

Table 10. Visitation for Dependent Children Ages 5 and Under
                         March 2017
                                      . . ------i--·-·· March 2018
            Total Children                       ITotal Children
 DHS                                             I            147
 CUA                    3,500                    I         3,568

      •    Compared to March 2017, DHS visitation rates for children ages 5 and under declined by 7%
           while the rate for CUAs declined by 2%.

Figure 14. DHS and CUA Visitation Rate, by Month
 100%

                                                95%                  95%
     95%       93%         93%                                                                          93%
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     90%
                                                94%                 93%            e2i1v."'.....                                  •
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                                                                                                                               91%                        91%

     85%

     80% _,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

              Jul-17      Aug-17     Sep-17    Oct-17               Nov-17        Dec-17             Jan-18                  Feb-18                  Mar-18
                                               -•              HS    -·-,.\ ·CUA


     G?)   For the last 10 months, CUAs and DHS have maintained visitation rates in the low to mid-90s.




10
  Please note that per the CUA guidelines, CUAs are required to visit each child a minimum of once per month.
DHS visitation rules vary by the age and type of service. For children not requiring monthly visits by DHS case
managers, children are still being seen regularly and visits are documented by provider agencies.



13                                                                               0=   Key Success©= Ongoing Challenge
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Figure 15. CUA Visitation Rate, by CUA 11
            NET Community Care - 1                                                                                     APM-2
     100%     93% 95%                                                                  100%
                                                                                                    95% 93% 93% 92% 94%
                 ....-             •
                             ...... 9 % 91%
                                                                                                                                                             92%
                                                                                                                                                                   89% 89%
     90%                                                                                90%

     80% ' - - - - - - - - - - - - - - - - -                                            80% ' - - - - - - - - - - - - ~ - - - -




                  Turning Points for Children - 3                                                   Catholic Community Services - 4



                                                                                                   1~·
     100%                            94%     95% 94% 94%                               100%                  97% 97% 96% 96% 97% 97% 97% 97%
                 92% 92% 93'1/cu 94%

      90%         • •                 ••    • ......... • •
                                         92% ..

                                                                                        90%


      80%                                                                               80%
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                  Turning Points for Children - 5
     100%                                  96% 94%0 95%                               100%         97%
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     90%
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                         NET Community Care - 7
     100%                                                      96%
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                  Turning Points for Children - 9                                                    Turning Points for Children - 10
     100%                                                                             100%
                                 94% 93%                          93% 92% 94%                                           92%                                            93%
              90% 91%_,,.~..... 88% 87% ..,._ _ _..                                            91% 90%                          90% 90% 89% 89%
      90%                                                                             90%


      80%                                                                             80% ' - - - - - - - - - - - - - - - - - - -




      •      From May 2017 to March 2018, five CUAs maintained at least a 90% monthly visitation rate, and
             eight CUAs had March visitation rates at 90% or above.


11
     Prior to 1/1/18, Turning Points for Children 5 and 10 were managed by Wordsworth.


14                                                                                           0= Key Success (D= Ongoing Challenge
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          CITY OF PHILADELPHIA
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 IV.      Permanency
 Tables 11 and 12 shows permanency rates by CUA (Table 11) and DHS (Table 12) for FY18 Q1-Q2. The
 permanency rate is calculated by dividing the total number of children who achieved permanency
 (adoption, reunification, or PLC) by an unduplicated count of children in placement for the period under
 review. The total numbers of youth who achieved permanency system-wide (for both DHS and CUA)
                                            12
 during FY15-FY18 are shown in Figure 16. Figure 17 shows the timeliness of permanencies by
 permanency type for FY13-FY18, and Figure 18 looks at 12-month re-entry rates.

Table 11. FY18 Q1 and Q2 Permanency Rates by CUA 13



01.- NET                                   12.3%
02-APM                                     15.0%
03-TPFC                                    15.2%
04-CCS                                     15.7%
05-TPFC                                    10.5%
06-TABOR                                   15.1%
07-NET                                     11.6%
08-BETH                                    17.0%
09-TPFC                                    14.1%
10-TPFC
   -- ----- ---- -7·-~-- -·· - - -         11.6%
r Permanency Rate                          13 6%
 Data run 2/7/18

     •   The CUAs' overall permanency rate for FY18 Q1-Q2 was 13.6%.
            o CUAs are on track to meet DHS' goal of 25% permanency by the end of the fiscal year.
            o CUAs' permanency rates ranged from 10.5% (Turning Points for Children- 5) to 17.0%
               (Bethanna-8).

Table 12.DHS FY18 Q1 and Q2 Permanency Rates 14




 Data run 5/9/18
     •   182 out of 712 youth (25.6%) achieved permanency during the first half of FY18.




12
   Table 11 and Figure 16 are based on reconciled data from the CUAs, while Table 12 and Figure 17 is based on
unreconciled data from the FACTS2 database.
13
   Prior to 1/1/18, Turning Points for Children 5 and 10 were managed by Wordsworth.
14
   The DHS permanency rate only includes youth for whom DHS was providing case management
services.


15                                                              0=     Key Success(])= Ongoing Challenge
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Figure 16. System-wide (OHS and CUA) Permanency Totals by Permanency Type
     2500



     2000



     1500



     1000



      500



          0
                      FY13            FY14                FY15             FY16              FY17        FY18 Ql-Q2
                 Total: 1,322      Total: 1,387       Total: 1,416     Total: 1,852       Total: 2,024   Total: 1,094

                                             •    Reunification   !'•Adoption   •   PLC


     Q) Since FY13, permanencies have continued to increase.               ·
                 o     The first two quarters of FY18 suggest this trend will continue-if permanencies continue
                       at the same rate for FY18Q3 and Q4, then the total permanencies will exceed those in
                       FY17.
               0       ThElre were more adoptions in the first half of FY18 than there were in all of FY13, FY14,
                       or FY15.
      •       Since   FY13, reunifications have represented 61.3-67.6% of all permanencies.
                  o    The first two quarters of FY18 had a slightly lower proportion of reunifications-only 57%.
      •       Since   FY13, adoptions have represented 26.0-31.4% of all permanencies.
                  o    The first two quarters of FY18 had a slightly higher proportion of adoptions-35.9%.
      •       Since   FY13, PLCs have represented 6.2-10.7% of all permanencies.
                 o     The first two quarters of FY18 were within this range, representing 7.0% of
                       permanencies.




16                                                                       0=         Key Success[): Ongoing Challenge
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  Figure 17 provides information about timeliness to permanency by permanency type, timeframe, and
  fiscal year.

  Figure 17. Timeliness of Permanency for FY13- FY18
  Reunification                                Adoption                                              PLC
    100%

       80%

       60%

       40%
                 .......
                55% 59% 59% 58% 59% 61%
                                                   75%




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                                                  --11-Adoption within 2 years                             --,,r~ PLC within 2 years
            -e-Reunification within 1 year
                                                  . -c--Adoption within 3 years                              ;.   PLC within 3 years

Data run 2/14/18
        •     Reunification within one year of entering placement has remained fairly steady since FY13.
                 a    The first half of FY18 had a slightly higher one-year reunification rate than the previous
                      five full fiscal years.
       •      The two-year adoption and PLC rates experienced significant drops between FY13 and FY15.

                 CD   While the 2-year adoption rate has remained steady since FY16 and into the first half of
                      FY18, the 2-year PLC rate in FY18 is ten percentage points lower than the rates from
                      FY15-17.

    CD        The 3-year adoption and PLC rates have continued to decline from FY13 through the first half of
              FY18.
                 o The FY18 Q1-2 rates for 3-year adoption and PLC are nearly equivalent to the FY13
                      rates for 2-year adoption and PLC.
                 o The 3-year adoption rate for the first half of FY18 is roughly half the FY13 rate.




  17                                                                            ~I: Key Success CD= Ongoing Challenge
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 Figure 18 shows the percent of youth who re-entered placement within a year of reunification.

 Figure 18. One Year Re-entry Rate FY13 - FY17 15
     20%

                   17.0%


     15%




     10%




     5%




     0%
                   FY13                 FY14                 FY15                 FY16        FY17 Ql-Q2

Data run 2/14/18

     0     The one year re-entry rate for FY17 Q1-Q2 is lower.than the past four full fiscal years.




15
     FY18 data is not included because a full year must elapse from the reunification date.


18                                                                    0= Key Success (l)= Ongoing Challenge
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    Appendix
    This report was produced by the Data Analytics Unit within DHS' Performance Management and
    Technology division using data from the FACTS2 database. This database is a live system that updates
    daily to reflect the most up-to-date information for youth in DHS and CUAs' care.

    Timing of Analysis
    The Data Analytics Unit does not analyze data until at least a week following the close of the quarter to
    allow time for CUA and DHS staff to upload documentation and finalize practice decisions, particularly
    related to case closure and permanency. The Data Analytics Unit also reconciles data with the CUAs
•
    when necessary. In almost all cases, the lag time and reconciliation process allow the Data Analytics Unit
    to use data that will not change over time. However, there may be some instances ·in which data
    uploaded at a later date have marginal impacts on overall rates. For example, some Q1-Q2 permanency
    rates by CUA (Table 10) may increase by a fraction of a percentage point if these rates are run at a later
    date.

    Projections
    The Hotline and Investigation annual projections (Figures 1 through 4) are based off of the current fiscal
    year's Q1-Q2 rate and the proportion of Q1-Q2 totals to annual totals historically. For example, if Q1-Q2
    Hotline totals historically represented half of the annual total, then the projection would be calculated by
    multiplying the Q1-Q2 total by two.




    19                                                            0=     Key Success   CD=    Ongoing Challenge
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           Attachment U
